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                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION
                                   WACO


SABLE NETWORKS, INC., SABLE IP, LLC §
                                    §
vs.                                 §               NO:    WA:21-CV-00261-ADA
                                    §
CLOUDFLARE, INC., CLOUDFLARE, INC., §
SABLE IP, LLC, SABLE NETWORKS, INC.

             ORDER    RESETTING       ZOOM      PRETRIAL        CONFERENCE

       IT    IS HEREBY   ORDERED    that the above entitled and numbered case is Reset
                                                                                 reset for

ZOOM   PRETRIAL Conference
       Pretrial CONFERENCE by Private Zoom           on December 13, 2023     at 02:00 PM    .



                IT IS SO ORDERED this 5th day of December, 2023.




                                                 Alan D Albright
                                                 UNITED STATES DISTRICT JUDGE
